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                     1   ALAN R. SMITH, ESQ.
                         Nevada Bar No. 1449
                     2   HOLLY E. ESTES, ESQ.
                         Nevada Bar No. 11797
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                         505 Ridge Street                                                      ELECTRONICALLY FILED
                     4   Reno, Nevada 89501                                                       August 18, 2014
                         Telephone (775) 786-4579
                     5   Facsimile (775) 786-3066
                         Email: mail@asmithlaw.com
                     6
                         Attorney for Debtors/Defendants
                     7   ANTHONY THOMAS and WENDI
                         THOMAS
                     8
                     9                                  UNITED STATES BANKRUPTCY COURT
                 10                                                  DISTRICT OF NEVADA
                 11                                                             —ooOoo—
                 12      In Re:                                                       Case No. BK-N-14-50333-BTB
                                                                                      Case No. BK-N-14-50331-BTB
                 13      ANTHONY THOMAS and
                         WENDI THOMAS,                                                Chapter 11 Cases
                 14
                                                                                      [Jointly Administered]
                 15      AT EMERALD, LLC,
                 16
                 17
                                    Debtors,
                 18      ______________________________/
                                                                                      Adv. Pro. No. 14-05022
                 19      KENMARK VENTURES, LLC,
                 20                         Plaintiff,                                ATTORNEY INFORMATION SHEET
                                                                                      FOR PROPOSED ORDER
                 21      vs.                                                          SHORTENING TIME
                 22      ANTHONY THOMAS and WENDI                                     (No Hearing Required)
                         THOMAS,
                 23
                                    Defendants.                                       Hearing Date: OST Pending
                 24      ______________________________/                              Hearing Time: OST Pending
                 25               As required by the Court under Local Rule 9006, my office provided notice or
                 26      attempted to provide notice to the following parties, or their counsel, of the proposed Order
                 27      Shortening Time for a hearing on the Debtor’s MOTION TO WITHDRAW AS
                 28      ATTORNEY OF RECORD filed contemporaneously with this attorney information sheet.
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Reno, Nevada 89501
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                     1   They agree or disagree to the time being shortened, as indicated below:
                     2   NAME                                  HOW & WHEN                              AGREE         DISAGREE
                     3   William B. Cossitt, Esq.              By email on
                         Office of the United                  August 18, 2014                         X
                     4    States Trustee
                     5   Timothy A. Lukas, Esq.                By email on
                         Holland & Hart, LLP                   August 18, 2014                         X
                     6
                         Kevin A. Darby, Esq.     By email on
                     7   Darby Law Practice, Ltd. August 18, 2014                                      X
                     8   Stefanie T. Sharp, Esq.               By email on
                         Robison, Balaustegui,                 August 18, 2014                         X
                     9
                         Wayne A. Silver, Esq.                 By email on
                 10                                            August 18, 2014                         X
                 11      Anthony &                             By email on
                         Wendi Thomas                          August 18, 2014                NO RESPONSE
                 12
                         COMMENTS:
                 13         N/A
                 14      ESTIMATED TIME OF HEARING:
                              15 Minutes.
                 15
                                  DATED this 18th day of August, 2014.
                 16
                                                                                  LAW OFFICES OF ALAN R. SMITH
                 17
                                                                                  By:     /s/ Alan R. Smith
                 18                                                                 ALAN R. SMITH, ESQ.
                                                                                    Attorney for Debtors
                 19
                 20
                 21
                 22
                 23
                 24
                 25
                 26
                 27
                 28
  Law Offices of
 ALAN R. SMITH
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                          Case 14-50333-gs              Doc 172            Entered 08/18/14 17:17:39   Page 3 of 3



                     1                                            CERTIFICATE OF MAILING
                     2            Pursuant to FRCP 5(b), I hereby certify that I am an employee of the Law Offices of Alan
                     3   R. Smith, and that on this day I deposited for mailing at Reno, Nevada, and sent via email, a true and
                     4   correct copy of the attached document addressed as follows:
                     5            AT Emerald, LLC
                                  c/o Anthony & Wendi Thomas
                     6            7725 Peavine Peak Court
                                  Reno, NV 89523
                     7            atemerald2@gmail.com
                                  wendithomas6@gmail.com
                     8
                                  Timothy A. Lukas, Esq.
                     9            Holland & Hart, LLP
                                  5441 Kietzke Lane, 2nd Floor
                 10               Reno, NV 89511
                                  tlukas@hollandhart.com
                 11
                                  Kevin A. Darby, Esq.
                 12               Darby Law Practice, Ltd.
                                  4777 Caughlin Parkway
                 13               Reno, NV 89519
                                  kevin@darbylawpractice.com
                 14
                                  Stefanie T. Sharp, Esq.
                 15               Robison, Balaustegui, Sharp & Low
                                  71 Washington Street
                 16               Reno, NV 89503
                                  ssharp@rbsllaw.com
                 17
                                  Wayne A. Silver, Esq.
                 18               333 W. El Camino Real, Ste. 310
                                  Sunnyvale, CA 94087
                 19               w_silver@sbcglobal.net
                 20               Amy N. Tirre, Esq.
                                  Law Offices of Amy N. Tirre, APC
                 21               3715 Lakeside Dr., Ste. A
                                  Reno, NV 89509
                 22               amy@amyttirrelaw.com
                 23               Joseph G. Went, Esq.
                                  Holland & Hart, LLP
                 24               9555 Hillwood Drive, 2nd Floor
                                  Las Vegas, NV 89134
                 25               jgwent@hollandhart.com
                                                                                 /s/ Debra L. Goss
                 26      Dated: August 18, 2014                            By:_______________________________________
                                                                                        Debra L. Goss, Employee
                 27
                 28
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